Case 4. VAL 00715 Document 40 Filed 02/26/15 P@: 1of3 page’? 815

RIGINA

CO T. ‘J. INTHE UNITED STATES DISTRICT COURT "
FOR THE NORTHERN DISTRICT OF TEXAS): cr 95) qt: 13
FT. WORTH DIVISION a

DISABILITY RIGHTS TEXAS, §
§
Plaintiff, §

§

v. § CIVIL ACTION NO. 14-CV-715 - AC
§
MANSFIELD INDEPENDENT §
SCHOOL DISTRICT and §
DR. JIM VASZAUSKAS, §
in his Official Capacity as §
Superintendent, §
§
Defendants. §

PARTIES’ JOINT MOTION TO DISMISS WITH PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Plaintiff, Disability Rights Texas, and Mansfield Independent School
District and Dr. Jim Vaszauskas, in his official Capacity as Superintendent, Defendants, and file
this Parties’ Joint Motion to Dismiss with Prejudice, and in support thereof would show the
Court as follows:

l. On August 28, 2014, Plaintiff filed an Original Complaint for Declaratory and
Injunctive Relief against Defendants Mansfield Independent School District, and Dr. Jim
Vaszauskas Superintendent, in his Official Capacity.

2. The parties have reached an agreement resolving the dispute in this matter.

Accordingly, the parties hereby request this Honorable Court dismiss the instant cause, Docket

No. 14-CV-715 with prejudice.

PARTIES’ JOINT MOTION TO DISMISS WITH PREJUDICE — Page 1

Case 4:14-cv-00715 Document 40 Filed 02/26/15 P@: 2of3 PagelD 816

Respectfully submitted,

Chg iN i bety ff
ELISE MITCHELL
State Bar No. 01478720
DISABILITY RIGHTS TEXAS

1420 West Mockingbird Lane, Ste. 450
Dallas, Texas 75247-4932
(214) 630-0916 (Phone)
(214) 630-3472 (Fax)
emitchell@disabilityrightstx.org

COLLEEN ELBE

State Bar No. 24050154
DISABILITY RIGHTS TEXAS
4747 S. Loop 289, Suite 120
Lubbock, Texas 79424

(806) 765-7794 (phone)

(806) 765-0496(fax)
celbe@disabilityrightstx org

CONSTANCE WANNAMAKER
State Bar No. 24029329
DISABILITY RIGHTS TEXAS
300 E. Main, Suite 205

El Paso, Texas 79901

(915) 542-0585 (Phone)

(915) 542-2676 (fax)
cwannamaker@drtx.org

Attorneys for Plaintiff

PARTIES’ JOINT MOTION TO DISMISS WITH PREJUDICE — Page 2

Case 4:14-cv-00715@ Document 40 Filed 02/26/15 ‘@: 3o0f3 PagelD 817

Zo Liife.

Charles J. Crawford

State Bar No. 0501 ‘00

Ross Wells

State Bar No. 24047087
ABERNATHY, ROEDER, BOYD
& JOPLIN, P.C.

1700 Redbud Blvd., Ste. 300
McKinney, Texas 75069

Attorneys for Defendant

The local counsel requirement was waived
by Order signed September 25, 2014

CERTIFICATE OF SERVICE

I certify that on this the XY/y_ day of

Gale , 2015 that a true and correct copy of

the foregoing document was served on all counsel of record via electronic mail and certified mail,

return receipt requested.

ABERNATHY, ROEDER, BOYD
& JOPLIN, P.C.

Richard M. Abernathy
State Bar No. 00809500
rabernathy(@abernathy-law.com

Charles J. Crawford
State Bar No. 05018900
ccrawford(@abernathy-law.com

Ross Wells
State Bar No. 24047087
rwells@abernathy-law.com

1700 Redbud Blvd., Ste. 300
McKinney, Texas 75069
(214) 544-4000 Telephone
(214) 544-4040 Facsimile

oe yh ee Ec éiZ

Elise Mitchell

Mailing Address:
P.O Box 1210
McKinney, Texas 75070-1210

PARTIES’ JOINT MOTION TO DISMISS WITH PREJUDICE — Page 3
